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Attorneys for Defendant

Dillon Danis
UNITED STATES DISTRICT COURT

NINA AGDAL, FOR THE DISTRICT OF NEW JERSEY

Plaintiff, Civil No. 23-16873 (MCA)
-VsS— MOTION TO FOR LEAVE

TO WITHDRAW AS COUNSEL

DILLON DANIS,

Defendant.

The undersigned hereby moves the Court for leave to withdraw as counsel for Defendant
Dillon Danis. The basis for this application is twofold: (a) Defendant’s failure to comply with the
terms of the Firm’s retainer agreement, and (b) a breakdown in communication between Defendant
and counsel which has resulted in, among other things, counsel’s failure to ensure compliance with
court orders. In support of this application, counsel relies upon the following certification:

1) On September 10, 2023, Defendant retained Hartmann Doherty to represent him in the
above-captioned lawsuit, under the terms of a written retainer agreement.

2) The retainer agreement, among other things, required Defendant to pay a retainer and to
pay the firm’s monthly invoices within twenty (20) days to ensure that the retainer remained
“evergreen.”

3) In the section of the retainer agreement entitled “Payment of Monthly Invoices,” the

retainer agreement provided as follows (with the underlined emphasis in the original):
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If the Firm’s invoices are not paid promptly, the Client consents and agrees
by signing this Agreement that the Firm may, in its sole discretion, cease all
work on the Client’s matter(s), require payment of an additional Retainer,
and/or withdraw from its representation of the Client. The Client
understands and agrees that the Firm will not perform work on the Client’s
matter(s) if the Firm’s invoices are not paid promptly, and that such
cessation of work may result in prejudice to the Client’s rights and
likelihood of success, which the Client would avoid by timely paying the
Firm’s invoices. The Client waives any claim against the Firm arising from
the Firm’s cessation of work on behalf of the Client in response to the
Client’s failure to pay the Firm’s Professional Fees and Expenses.

4) In the section of the retainer agreement entitled “Client’s Duties,” the retainer
agreement provided as follows:
The Client agrees to preserve all written and electronic documents,
communications or other evidence (whether helpful to the Client’s case or
not), to provide all such materials to the Firm, to be truthful and cooperate
with the Firm in all matters related to this representation, to keep the Firm
informed of relevant developments, and to promptly pay the Firm’s monthly
invoices. The Client understands that the Client’s failure to comply with
any of the terms and conditions of this Retainer Agreement may be

detrimental to the outcome of the Client’s case and grounds for the Firm to
terminate its representation of the Client

5) Defendant agreed to the terms of the retainer agreement by executing it with his
electronic signature.

6) Defendant has failed to pay the firm’s monthly invoices in a timely fashion and has
failed to maintain the required retainer agreement at the agreed-upon level. This has been a
recurring problem.

7) In addition, Defendant has become non-responsive to counsel’s communications,
including communications regarding Orders entered by the Court.

8) Defendant only responded to communications regarding the issues referenced above
when I communicated that I would be withdrawing as counsel.

9) I personally like Mr. Danis, I find this case to be an interesting one, and I would prefer

to continue representing him. However, I cannot do so effectively if he fails to respond to my

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communications and the firm will not allow me to do so if he fails to comply with the terms of the
retainer agreement.

10) For these reasons, counsel respectfully asks the Court to grant counsel leave to
withdraw as counsel for Defendant.

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Respectfully submigted

ark A. Berman
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Attorneys for Defendant
Dillon Danis

Dated: September 12, 2024
